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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                       No. 1:20-cr-183

             vs.                                     Hon. Robert J. Jonker
                                                     United States District Judge
ADAM DEAN FOX,

                  Defendant.
_________________________________/

              GOVERNMENT’S SENTENCING MEMORANDUM

      May it please the Court, the United States submits the following

memorandum for the Court's reference in determining an appropriate sentence:

      1.     Facts and Procedural History:

      From before June 2020 through their arrest in October 2020, defendant

Adam Dean Fox conspired with co-defendants Barry Gordon Croft Jr., Ty Gerard

Garbin, and Kaleb James Franks to kidnap the Governor of Michigan. (R. 172:

Superseding Indictment.) Fox also conspired with Croft to use a weapon of mass

destruction in furtherance of the plot. (Id., PageID.967.)

      Garbin and Franks both pled guilty to the kidnapping conspiracy. At Fox’s

first trial, the jury acquitted co-defendants Daniel Joseph Harris and Brandon

Michael-Ray Caserta, and deadlocked as to Fox and Croft. (R. 622: Declaration of

Mistrial, PageID.6029.) At the retrial, the jury convicted Fox and Croft of all counts

against them. (R. 728: Minutes of Jury Trial, Day 11, PageID.9039.) In a related

state trial in Jackson County, Michigan, three additional members of the Wolverine
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Watchmen militia (Joseph Morrison, Paul Bellar, and Pete Musico) were convicted

of providing material support for the terrorist plot; a felony carrying a 20-year

maximum penalty. Additional defendants are pending trial on similar charges in

Antrim County.

      Since the facts are well known to the Court that presided over both federal

trials, this memorandum will highlight only a selection of testimony and exhibits

pertinent to the guideline calculations and statutory sentencing factors.

      2.     Guideline Issues:

             a.     Terrorism Adjustment

                    (1)    Generally

      If the offense is a felony that involved, or was intended to promote, a federal

crime of terrorism, the base offense level is increased by 12 levels, and the criminal

history category becomes VI. USSG § 3A1.4(a), (b). “A ‘federal crime of terrorism’

has two statutory elements. One concerns motivation: The offense must be

‘calculated to influence or affect the conduct of government by intimidation or

coercion, or to retaliate against government conduct.’ 18 U.S.C. § 2332b(g)(5)(A).

The other concerns the nature of the offense: It must violate one of a list of criminal

provisions ranging from the production of biological weapons to the kidnapping of

members of Congress. Id. § 2332b(g)(5)(B).” United States v. Doggart, No. 20-6128,

2021 U.S. App. LEXIS 33024, at *4 (6th Cir. Nov. 3, 2021).




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                     (2)   Predicate offense

      Fox’s conviction for conspiracy to use a weapon of mass destruction, in

violation of 18 U.S.C. § 2332a(a)(2)(A), is a listed predicate offense for application of

the terrorism enhancement. 18 U.S.C. § 2332b(g)(5)(B)(i). In United States v.

Suarez, 893 F.3d 1330, 1337 (11th Cir. 2018), the court affirmed a life sentence for a

defendant with no criminal history who was convicted of Section 2332a for planning

to detonate a bomb on Key West. “Indeed, Congress and the Sentencing Commission

intended the terrorism enhancement to apply to [this] crime. The definition of a

federal crime of terrorism in § 3A1.4, by incorporating § 2332b(g)(5), specifically

includes a conviction under 18 U.S.C. § 2332a, the weapons of mass destruction

crime for which [the defendant] was convicted.” Id. The terrorism enhancement

applies to inchoate offenses, such as attempt and conspiracy, just like completed

attacks. United States v. Hayne, 835 F. App’x 855, 856 (6th Cir. 2020) (enhancement

applied where defendant attempted to blow up a bridge with an improvised

explosive device).

                     (3)   Motivation

      The only remaining question is whether Fox intended to influence the

conduct of the government through intimidation or coercion, or retaliate against

government conduct. Either motive is enough to support the enhancement. United

States v. Varnell, No. 20-6040, 2021 U.S. App. LEXIS 36684 (10th Cir. Dec. 13,

2021). The court in Varnell found both motivations present where the defendant

said, “This country needs a revolution and the government needs to be weakened to



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give people the courage to do it,” and said he was, “going after government officials

once militias start getting formed.” Id., at *21-22.

      Long term planning is not required and influencing the government need not

be the defendant’s ultimate or sole aim. United States v. Wright, 747 F.3d 399, 408

(6th Cir. 2014). Specific intent may be inferred from circumstantial evidence, such

as the “natural inference” arising from an attack on a government office. Id. The

defendant’s motives for retaliation need not be particularly coherent or consistent

over time. United States v. Van Haften, 881 F.3d 543, 544-45 (7th Cir. 2018)

(immaterial that defendant’s motive for attacking United States was based on false

or absurd beliefs).

      The evidence adduced at trial established that Fox was motivated by a desire

to retaliate against the government for various actions (real or imagined) that he

considered “tyranny,” including Covid restrictions and the false belief that the

government intended to seize or ban assault weapons. In a December 2019

Facebook video, he posed with an assault rifle and said, “Keep reading all these

fucking bills going through these state senates and shit about fucking taking our

fucking firearms and our AR-15’s and whatnot. Fuck your bills, man, just come and

try to get ‘em. Who else is ready for the boogaloo? I’m ready to boog-the-fuckin-loo

on, man, I’m sick of this shit. We just gonna let ‘em keep passing laws? Keep

fucking violating our God-given rights? We just gonna keep bitching on Facebook?

What are we gonna do? I’m ready to give maximum effort, man. I’m just waiting.

Who’s going to fire the first shot?” (Gov’t Ex. 435.) Fox brandished his AR-15, and



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added, “This is the only way that we take back our country, is right here. By brute

fucking force. Physical violence.” Id.

      In an April 2020 Facebook video, Fox said, “We have the numbers, we have

the arms, we have the ammunition, we have all the fucking tools and strategy that

we need to just go take our country back from 435 members of fucking Congress

that don’t give a fuck about us.” (Gov’t Ex. 3.) On May 12, 2020 he said, “People

need to stop with the misplaced anger and place the anger where it should go, and

that’s against our tyrannical fucking government.” (Gov’t Ex. 22.)

      In a June 2020 Facebook video, Fox complained about public health

precautions implemented by Governor Whitmer: “I mean, this whole gym situation

has turned into a fiasco. She’s playing with people’s livelihoods. There’s no reasons

why the gyms can’t open now … this tyrant bitch constantly does this. I just, I don’t

get it, you know. It’s very frustrating. These gym owners have to be hurting

financially. I, I don’t know boys, we gotta do something. … I myself wanna offer

these gyms, Constitutional comfort, if you will.” (Gov’t Ex. 69.)

      In another June 2020 video, Fox explicitly stated his motive was the

overthrow of the government. “Saying the Boogaloo Bois wish to incite the next

Civil War? How fucking wrong could they ever be? We want a revolutionary war. We

want to get rid of this corrupt, tyrannical, fucking government. That’s what we

want to get rid of.” (Gov’t Ex. 70.) In describing his early plans to UCE Mark in

July, Fox advised, “The consensus is, as of right now is taking the fucking Capitol




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by force, like with extreme heavy fucking prejudice toward our fucking government

officials.” (Gov’t Ex. 72.)

       The trial evidence also established Fox wanted to influence government

conduct through intimidation or coercion. He advocated abducting Governor

Whitmer to “trade” for unspecified concessions, and said her abduction would cause

the government to heed his demands. When Fox met Croft and other extremists in

Dublin, Ohio, he counseled abducting multiple state governors at once: “You need to

hit them all at the same time, and you need to take hostages. You need tyrants as

hostages. There you have value. Then human life is the value to it, right?” (Gov’t

Ex. 40.) As he explained to UCE Mark a month later, “Then we have got a tool

negotiate with … we want the tyrant bitch.” (Gov’t Ex. 77.)

       On September 12, 2020, just before the night reconnaissance of the

Governor’s home, Fox similarly told Caserta and state defendant William Null, “The

whole point of this is to send a message, because it doesn't matter. If we, if we cut

her out that don't matter. There’s still the puppet-masters above. The whole point is

this, we're, we're sending the fucking message to them. Hey. If we can get her, we

can get you.” (Gov’t Ex. 233.)

       Fox conspired to use a weapon of mass destruction to facilitate the

kidnapping of the Governor. He intended both to retaliate against and influence the

government. The enhancement in USSG § 3A1.4 therefore applies.




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             b.     Official Victim Adjustment

      The sentencing guidelines provide that if the victim was a government officer

or employee, and the offense of conviction was motivated by such status, the offense

level is increased by three. USSG § 3A1.2(a). If the offense of conviction is found in

Chapter Two, Part A of the guidelines (Offenses Against the Person), the offense

level is increased by six. USSG § 3A1.2(b).

      The Sixth Circuit has repeatedly rejected claims that the “official victim”

enhancement only applies to federal officers or employees. “We hold that federal

criminal sentences may be enhanced pursuant to § 3A1.2(a) if the underlying

conduct was motivated by the victim's status as a state or local government

employee.” United States v. Hudspeth, 208 F.3d 537, 540 (6th Cir. 2000) (county

prosecutor). See also United States v. Manns, 690 F. App'x 347, 354 (6th Cir. 2017)

(county prosecutor and clerk of court).

      “‘Motivated by such status’, for purposes of § 3A1.2, means that the offense of

conviction was motivated by the fact that the victim was a government officer or

employee . . . .” USSG § 3A1.2, App. Note 3. “This adjustment would not apply, for

example, where the both the defendant and victim were employed by the same

government agency and the offense was motivated by a personal dispute.” Id.

      Fox himself implicitly recognized Governor Whitmer’s official status

countless times by referring to her as a “tyrant,” defined as “a sovereign or ruler,

legitimate or otherwise, who uses [her] power unjustly and arbitrarily, to the




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oppression of [her] subjects.” (Black’s Law Dictionary, 5th Ed.) 1 In fact the

defendants appear to have been motivated more by her status as the head of state

than any identifiable grievance with Governor Whitmer personally. In April 2020,

Croft posted the following message on Facebook: “I believe, all it’s going to take is 1

state, to burn out and hang a Govenor [sic], and those dominoes will start

falling!!!%” (Gov’t Ex. 4.) In May 2020 Croft asked, “Which Governor is going to end

up dragged off, and hung for treason first?” (Gov’t Ex. 360.) And, as Croft told

associates that month, “I want to grab them all, and hold trial. A people’s trial.”

(Gov’t Ex. 12, emphasis added.) He explained to Fox, “Once we get a foothold, one

criminal governor in our possession and we’ve captured the flag in that state. We

can then start to issue terms.” (Gov’t Ex. 14.) When CHS Dan asked Fox if the

mission would be “catch and release,” Fox echoed Croft: “Fuck no, bitch! Once we

got her she's ours, man. She getting charged man. Fuck that. Either she’s going to

prison or she’s getting hung. She’s suffering her fucking fate, dude. And then after

that we're going after the others. This is the example, bitch. The head's cut off.

We're coming to burn the rest of the body now.” (Gov’t Ex. 127.)

         The defendants selected Governor Whitmer as their first victim because Croft

found a willing and able operations leader in Fox. As Croft put it to one associate,

“Michigan’s government is a target of opportunity. If opportunity presents, will

engage. God knows the Govenor (sic) needs hung.” (Gov’t Ex. 71.) Fox began

recruiting for the mission soon thereafter, telling an associate on May 19, 2020, “We


1It is undisputed that Governor Whitmer was the legitimate Governor of Michigan
at the time of the offense.
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need to go get these governors and arrest them, and put them on trial for their

crimes and their violation of the Constitution.” (Gov’t Ex. 20.) Fox pressed followers

to attack “our tyrannical fucking government,” and said, “Let’s just go to the fucking

top, let’s start at the fucking top, and then we’ll weed our way down, how ‘bout

that?” (Gov’t Ex. 22.)

       In a June 9, 2020 video, Fox exhorted followers to attack the Governor

because of her position as head of the state: “What’s the point in owning all this

gear, investing all this money in all this shit if you ain’t ever gonna go fucking use

it? We have a tyrannical governor who for months has fucking violated our

Constitutional rights and basically tyrannical ruled our state.” (Gov’t Ex. 51.) On

August 29, 2020 he explicitly referenced her authority as a motive: “Having the

Governor hog-tied on the table while we all pose like we just made the world’s

biggest drug bust? Photo op! … Fix this, bitch ass. Ain’t so funny when you ain’t got

all the power, is it?” (Gov’t Ex. 200.)

       As noted earlier, Fox said he wanted to “take tyrants as hostages” (Gov’t Ex.

40), use “the tyrant bitch” as “a tool to negotiate with,” (Gov’t Ex. 77), and send a

message to her supposed “puppet masters.” (Gov’t Ex. 223.) Those statements only

make sense in the context of the victim’s official status.

       However paranoid the conspirators’ motives, the evidence establishes they

chose to kidnap the victim because she was a sitting state governor. Since

kidnapping is found in Chapter Two, Part A of the guidelines (USSG § 2A4.1




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(Kidnapping, Abduction, Unlawful Restraint)) the offense level in this case should

be increased by six.

             c.        Leadership Enhancement

                       (1)   Law

      If the defendant was an organizer or leader of a criminal activity that

involved five or more participants, or was otherwise extensive, the offense level is

increased by four. USSG § 3B1.1(a).

      There can be more than one person who qualifies as leader or organizer of a

criminal association or conspiracy. United States v. Grigsby, 692 F.3d 778, 791 (7th

Cir. 2012). Factors the Court should consider in deciding who is an “organizer or

leader” include the exercise of decision making authority, the nature of

participation in the commission of the offense, the recruitment of accomplices, and

the degree of participation in planning or organizing the offense. USSG § 3B1.1,

App. Note 4. The defendant need only have “some control” over his subordinate’s

actions, which includes organizational responsibility. United States v. Kabir, 51

F.4th 820, 826 (9th Cir. 2022). In Kabir, “the district court reasonably concluded

that Kabir had ‘the necessary influence and ability to coordinate the behavior of

others so as to achieve a desired criminal result,” because he suggested to co-

conspirators what to pack, how to train, and what sorts of physical training to

undertake. Id. In addition, his recruitment of two other conspirators was “indicative

of his playing a leadership or central organizational role in the conspiracy.” Id.




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      The Guidelines define a participant as a “person who is criminally

responsible for the commission of the offense, but [who] need not have been

convicted.” United States v. Rathod, 826 F. App'x 527, 537 (6th Cir. 2020), citing

USSG § 3B1.1 cmt. n.1. “[C]ases applying the guideline uniformly count as

participants persons who were (i) aware of the criminal objective, and (ii) knowingly

offered their assistance.” Id., citing United States v. Anthony, 280 F.3d 694, 698 (6th

Cir. 2002).

      Leaders and organizers, including the defendant himself, are counted when

tallying the number of participants. United States v. Paccione, 202 F.3d 622, 625 (2d

Cir. 2000) (collecting cases). Other participants need not be involved in every aspect

of the crime. United States v. Fosher, 124 F.3d 52, 56-57 (1st Cir. 1997) (participant

did not participate in the robbery, but assisted the defendant in targeting the

victim’s home, and provided a home in which the planning meeting took place.)

      Participants can also include acquitted defendants. United States v.

Hardwell, 80 F.3d 1471 (10th Cir. 1996). Where the jury does not find co-defendants

guilty beyond a reasonable doubt, the district court is not foreclosed from finding by

a preponderance of the evidence that they were "criminally responsible" and thus

participants the defendant’s conspiracy. United States v. Lacey, 86 F.3d 956, 968

(10th Cir. 1996).

      “If the offense involved fewer than five participants, the ‘otherwise extensive’

language of § 3B1.1(a) is an alternative ground on which the sentencing court may

base its decision to depart upward.” United States v. Anthony, 280 F.3d 694, 699



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(6th Cir. 2002), citing United States v. Carrozzella, 105 F.3d 796, 803 (2d Cir. 1997).

The leadership enhancement is appropriate where the “otherwise extensive”

activity is the functional equivalent of a crime involving five or more participants.

Id. Application Note 3 is the starting point of the analysis. Id., at 700. It provides

that “in assessing whether an organization is ‘otherwise extensive,’ all persons

involved during the course of the entire offense are to be considered. Thus, a fraud

that involved only three participants but used the services of many outsiders could

be considered extensive.” USSG § 3B1.1, App. Note 3.

      In considering whether a criminal activity is otherwise extensive, the

sentencing court should examine: (i) the number of knowing participants; (ii) the

number of unknowing participants whose activities were organized or led by the

defendant with specific criminal intent; and (iii) the extent to which the services of

the unknowing participants were peculiar and necessary to the criminal scheme.

Anthony, 280 F.3d at 700-01, citing Carrozzella, 105 F.3d at 804.

             (2)    Facts

      Fox was a leader in the criminal activity because he recruited participants

and took the initiative in selecting and scouting the target location, collecting funds,

and advancing the plot. As he advised an associate on May 19, 2020, he was by then

already “trying to put together a team [to] get some shit going … to get these

fucking governors and arrest them and put them on trial for their crimes and their

violation of the Constitution.” (Gov’t Ex. 20.)




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      On June 4, 2020, he told his Facebook followers, “If you’re interested in

joining my movement and seeing what this is going to be all about, and being a part

of something bigger than just online bitching, hit me up.” (Gov’t Ex. 31.) The same

day, he reported on his progress to co-leader Croft: “I’m gonna actively begin

recruiting to build my regiment here. I can’t fucking wait man … Second

Continental Michigan Regiment, Second CMR, baby! … We’re going to be putting

together elite motherfuckers that are ready to go snatch a motherfucker.” (Gov’t Ex.

491.) He then posted to his Facebook page, “2nd Continental Michigan Regiment,

weak ones need not apply.” (Gov’t Ex. 32), showing his intent to build a sister unit

to the “2nd Continental Delaware Regiment” tattoo on Croft’s forearm. (Gov’t Ex.

48.) He told Croft, “I got a couple guys that I’m recruiting right now to help with

leadership, and that have some particular skills in mind, or, a particular skill set

that could be very beneficial.” (Gov’t Ex. 492.)

      On June 8, 2020, Fox pursued a recruiting tip from Croft, and called

Wolverine Watchmen leader Joe Morrison. He said, “[I]f Barry said we have the

same common goal, then I’m sure we do, and me and you definitely need to sit down

and talk.” (Gov’t Ex. 45.) After talking to Morrison, Fox reported back to Croft that

his recruiting efforts were bearing fruit: “Hey brother, hope all is good. Your boy

from fucking, Wolverine Watchmen here in Michigan hit me up. … It’s good looking,

if this guy checks out. Sounds like he’s got a decent sized group man. I’m gonna be

growing a fucking army here, bro. Ha! Fucking army man! Fuck a militia, we’re

gonna grow a fucking army!” (Gov’t Ex. 493.)



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      On June 13, 2022, Fox told Morrison he was recruiting even more broadly. “I

want to have a meeting next Saturday, possibly at my vacuum store in Grand

Rapids on 36th and Division, right on the corner there. I have a secure basement

where we could all kind of sit and talk. If you’re down with that, let me know. I

might have, maybe some other guys coming from a couple other militias. And then

we’ll kind of like talk, hypothetically, some shit that could go down.” (Gov’t Ex. 55.)

      On June 20, 2022, in the basement of the Vac Shack, Fox recruited Wolverine

Watchmen leadership representatives to his movement, including Ty Garbin and

Paul Bellar. The next day, he told Croft about his success and future recruiting

plans: “Yeah, I’m fully intending on bringing a ton of people with me, too. A lot of

these Mich–excuse me, Wolverine Watchmen to come with, and then, if I get some

from Michigan Home Guard, might have a couple from Michigan Liberty Militia.”

(Gov’t Ex. 68.) He explained to CHS Dan at that training on July 11 that “our group

is growing,” and that he needed it to continue growing: “We got a few, four, five, six-

man teams that are training, so. That’s where it comes in man we get moving

together four, five, six teams but then we get those four, five, six teams to be able to

do it fucking together. And then we are a fucking kill squad dude. We will fucking

be straight by then.” (Gov’t Ex. 101.)

      On August 4, 2022, Fox explicitly acknowledged his leadership role in a

conversation with CHS Dan: “[T]he way I feel like I can lead best, is by fucking

example. I don't feel like I, I can be a good leader telling people what to do things. I

think I can be a good leader by showing them what to do.” (Gov’t Ex. 133.)



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Consistent with that sentiment, he organized the first (daytime) reconnaissance of

the Governor’s home on August 29, 2022, collecting participant Daniel Molitor along

the way. During the drive, he told Molitor they were leading an even broader

movement: “Basically, what we’re hoping is that when we engage, it’s inspirational.”

(Gov’t Ex. 194.) Using internet data, he directed Molitor and CHS Dan to her home,

stating, “Gretchen E. Whitmer. She about forty-nine years old? Pop this address in.

Actually, her current address is [Redacted], Elk Rapids, Michigan.” (Gov’t Ex. 195.)

      When they arrived, he directed Molitor to videorecord their reconnaissance

for future tactical reference: “Alright, we're going one more time. Barricade, do me a

favor, will you bro? Do slow-mo video real quick. Put this up against that window

over there, and then press that button. Do a slow-mo video as we go by there.”

(Gov’t Ex. 198.) He added, “It's in sight. Standby for go. Three, two, one, begin now.

Take the whole neighborhood right here. And stop. Make sure you got it. Hopefully

you motherfucking got it all, man.” (Gov’t Ex. 199.)

      After the reconnaissance, he directed Molitor and CHS Dan to drive to a

nearby boat ramp, from where they could launch a nighttime assault. “Right here.

Hold on. Stop … Okay, Alright. The Lord sends the boat launch. That’s a perfect

fricking spot … go over and get the bitch, come back, hook the fucking trailer, pull

the boat, drop the boat, take the bitch and go.” (Gov’t Ex. 197.) He directed them to

find the local police department (Gov’t Ex. 193), figure out how far to the nearest

State Police post, and made a map of the neighborhood with estimated police

response times. (Gov’t Ex. 187.)



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      On September 12, 2020, Fox led other participants through a “kill house”

exercise meant to simulate breaching the Governor’s home. (Gov’t Ex. 240.) He later

recruited other participants to conduct a nighttime surveillance of the home. He

briefed Caserta and state defendant Bill Null on his tactical plans, and rounded up

multiple participants to view a video of explosives they could use in the plot:

      And, we're going to take another look tonight. Get eyes on it at
      nighttime. We are going to do two vehicles. If you guys are down, you
      want to roll? [UI] two. We have a menu of sorts to watch real quick. If
      you're down with the cause, this is something that we are going to be
      collectively raising money to go live, so. We're going to need some
      boom-boom. So, the [UI] guy is a baker. He didn't bring anything
      because its deer season and shit, [UI] couldn't come through with all
      the shit. He brought a video and shit. Big dump, so. Basically, a video
      of a bunch of shit being blown up, and it's basically a menu of what we
      can buy.

      So, gather the few of us [UI] that we are taking a ride tonight. We are
      going to leave here probably around eight o'clock, here in a couple of
      hours. Go get dinner and stuff. But we're going to go, we're going to
      take comms, two new vehicles, we're going to go put eyes on it again
      tonight, get another look at it from nighttime, and then we're going to
      mark a couple of things at night, because when we went up there at
      first, It’s fucking perfect dude.

      There's a goddamn public boat launch on the other side of the lake
      from her, and its literally concealed by fucking trees, and then it's like,
      it's just, it's too fucking perfect man it really is. [UI] Take her on Birch
      Lake. Fucking shoot it out, there's one bridge going out of the fucking
      city. Blow that fucking bridge, that little PD can't get there, the closest
      police station is like twenty miles away on all fucking sides. That gives
      us a twenty-minute fucking time frame.

(Gov’t Ex. 223.)

      Participants Ty Garbin and Kaleb Franks, an FBI agent posing as the

bombmaker (“UC Mark”) and CHS Dan all testified that Fox and Croft gathered

multiple participants to watch the explosives “menu” video. (Gov’t Exs. 224, 226.)

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They also testified that Fox took the lead in organizing the surveillance trip,

assigning individuals to specific cars and missions. Fox and Croft took the first car,

and inspected the highway M-31 bridge for a place to plant a bomb. (Gov’t Ex. 230.)

He assigned Ty Garbin, Kaleb Franks, and uncharged participant Brian Higgins to

the second car, directing them to signal when they had found the Governor’s house.

(Gov’t Exs. 242, 243.) He assigned twin brothers (and state defendants) Bill and

Mike Null to the third car as a roving lookout.

      The next day (September 13, 2020), Fox gathered Croft, Garbin, Franks,

Harris, Caserta, Molitor, Bill Null, Mike Null, Brian Higgins, CHS Dan and

undercover agents. Fox led the fund-raising pitch to acquire explosives, and

instructed the other participants about the need for further reconnaissance:

      So, a lot of you went with us last night. You kind of know, what, like,
      you know, what our intentions are. It comes with a price tag. Now
      there’s shit we got to do. To be able to do to them, so, things to do, shit
      we want to do, we can do easily, for like four grand. It’s our job now.
      We got to pool this money together, I want to try to raise it in the next
      month because it’s something we‘ll be sitting on. You never know, if we
      want to do this, it’s going to be, being ready, but it’s going to be
      opportunistic. Like it’s going to be, when the, the asset arises there,
      boom, we got to go. Like that’s another key reason why we need
      fucking, like, local intel. We need to get in with the locals a little bit.
      We’re going to have to keep doing recon, kind of get in.

(Gov’t Ex. 264.)

      On September 19, 2022, Fox took the lead in attempting to organize another

tactical training. He invited Garbin, Caserta, Harris, Franks and others to his

workplace, where he stated, “I’m gonna get the basement of this store cleared and if

anyone wants we can do a CQC [close quarters combat] training here” to “work on



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acquiring an asset and detaining for extraction?” (Gov’t Ex. 443.) He reminded his

followers, “Well we need all the reps we can get, have 6 weeks til election and one

week is ftx so let’s utilize these 5 weekend best we can.” (Id.) Fox later

acknowledged that he had successfully solicited Harris to contribute money to UC

Red, the supposed purveyor of explosives: “You know, I talked with Beaker [Harris],

even said we can use, we’ve got a little bit of a pool thing going.” (Gov’t Ex. 276.)

       On October 26, 2022, the State of Michigan convicted Wolverine Watchmen

Joe Morrison, Pete Musico and Paul Bellar of providing material support for a

terrorist act (that is, Fox and Croft’s plot) after a jury trial. 2

              (3)    Analysis

                     (A)     “Organizer or Leader”

       Fox will argue that his conspiracy had no defined rank structure, and other

participants in his plot were not obligated to follow his orders. But the enhancement

does not require the defendant to exercise direct decision making authority over five

or more followers. Rather, it applies when the defendant is a leader or organizer, in

a criminal activity that include five or more participants. As noted in Kabir, the

exercise of decision-making authority is only one factor in leadership, and defendant

need only have “some control” to satisfy it. Ironically, Fox himself recognized the

distinction between leadership and decision-making authority when he told CHS

Dan, “Everyone wants to just bark orders and tell people what to do but nobody

wants to actually fucking go out there and put the work in themselves and show


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 https://www.freep.com/story/news/local/michigan/2022/10/26/whitmer-kidnapping-plot-
verdict-morrison-musico-bellar-guilty/69592973007/
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them. That's the best kind of leaders. The guy that's down there with you doing the

fucking work.” (Gov’t Ex. 133.)

        The other factors (the nature of the defendant’s participation in the

commission of the offense, the recruitment of accomplices, and the degree of

participation in planning or organizing the offense) also show Fox was a leader or

organizer in the activity. Until the Wolverine Watchmen met Fox, they were anti-

government extremists without a coherent plan. It was Fox who first suggested they

storm the Capitol. Fox proposed three possible locations for kidnapping the

Governor, and tasked others with conducting surveillance. It was Fox who

eventually decided her vacation home presented the greatest likelihood of success.

Then Fox handed out the assignments for the nighttime reconnaissance of her

home.

        Fox also took the lead in recruiting in Michigan. He co-opted a large part of

the Wolverine Watchmen as his army and helpers, and selected a cadre of operators

from within that “militia” to carry out the kidnapping mission. He used a

combination of social media advertising, video pitches and in-person recruiting (e.g.,

at Second Amendment protest rallies) to grow his ranks, until he had assembled the

final “kill squad” he promised.

        Finally, the degree of Fox’s participation was unrivaled even by Croft. Fox

wrangled the Wolverine Watchmen to Cambria, Wisconsin and Luther, Michigan

for small-arms training. He planned and executed the daytime surveillance of the

Governor’s home, selected the approach and escape routes, and planned how to



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thwart and avoid law enforcement. He led the nighttime surveillance and took the

lead in raising money for explosives.

                    (B)    Five or more participants

      The criminal activity in this case involved more than five participants. As

noted in Paccione, the count must include the leaders themselves – Fox and Croft.

The count must also include all persons who are criminally responsible, whether or

not they were convicted. Both Garbin and Franks admitted their criminal

responsibility, bringing the count to four. As held by the court in Lacey, the

acquittal of Harris and Caserta does not foreclose the Court from finding them

responsible by a preponderance of the evidence. Substantial evidence supports their

responsibility, including Harris’ suggestion that they “just cap” the Governor, and

Caserta’s enthusiastic support for “extract[ing] the asset.” (Gov’t Ex. 443.) Both

trained alongside Fox, Croft, Garbin and Franks in the kill houses; and Garbin and

Franks testified they were active members of the conspiracy. That brings the count

to at least six. Finally, it must include Joe Morrison, Pete Musico, and Paul Bellar,

who provided training locations and other assistance. Their recent convictions for

material support to this conspiracy are firm proof of their involvement, and bring

the total to at least nine participants.

                    (C)    “Otherwise extensive”

      Even where the requisite five participants are lacking, the leadership

enhancement applies where the “functional equivalent” of five – including both

participants and non-participants whose knowing or unknowing services were used.



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That additional number includes helpers like Daniel Molitor, who surveilled and

video-recorded the Governor’s home at Fox’s direction on August 29; Brian Higgins,

who drove the car Fox tasked with finding the Governor’s home on September 12;

and Bill and Mike Null, who drove the car Fox tasked as a “lookout” the same night.

      Applying the Carrozzella factors adopted by the Sixth Circuit in Anthony,

there were six charged participants, and at least seven more uncharged ones whose

activities were organized by Fox and/or whose services were necessary to the

criminal scheme. That brings the total to at least thirteen—an extensive criminal

activity. The Court should recall that Croft called for attacks against the

government in multiple states, but the plot only progressed beyond planning in

Michigan. The reason was Fox, who fanatically embraced the cause, and

persistently pushed his recruits to action.

             d.     Incomplete Conspiracy Reduction Not Warranted

      Fox argues his guideline range should be reduced by three, because the

offense was a conspiracy rather than a completed kidnapping. The sentencing

guidelines provide the base offense level for attempt, solicitation, or conspiracy is

the same as for the substantive offense, subject to any adjustments. USSG

§ 2X1.1(a). “If the offense is a conspiracy,” however, the level is decreased by three

“unless the defendant completed all the acts the defendant believed necessary for

successful completion of the substantive offense or the circumstances demonstrate

that the defendant was about to complete all such acts but for apprehension or




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interruption by some similar event beyond the defendant’s control.” USSG

§ 2X1.1(b)(2) (emphasis added).

      The reduction is only to be applied when the arrest occurs well before the

defendant or any co-conspirator has completed the acts necessary for the

substantive offense. United States v. Lyles, 506 F. App’x 440, 452 (6th Cir. 2012).

But see United States v. Quinn, No. 17-4082, 2018 U.S. App. LEXIS 3289, at *2-6

(6th Cir. Feb. 12, 2018) (denial of § 2X1.1 reduction was harmless error where police

arrested conspirators before they completed burglaries needed to raise funds to

purchase explosives.)

      In United States v. McGarr, 330 F.3d 1048 (8th Cir. 2003), the Hobbs Act

robbery conspirator argued the reduction should apply, because the government

failed to prove that, but for official interference, the conspirators would have carried

out the robbery. The district court “found that the conspirators had conducted

sufficient planning and had sufficiently set in motion those events necessary for

execution to make completion of the offense reasonably certain. In addition, the

district court found no meaningful indication that, absent official interference, any

of the conspirators were likely to abandon the enterprise,” and properly denied the

reduction. Id., at 1050.

      The Fifth Circuit has laid out four non-exhaustive considerations to guide its

courts’ application of the guideline:

      First, the § 2X1.1(b)(2) inquiry focuses on the substantive offense and
      the defendant's conduct in relation to that specific offense. Second, §
      2X1.1(b)(2) does not require the reduction for a conspirator who has
      made substantial progress in his criminal endeavor simply because a

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      significant step remains before commission of the substantive offense
      becomes inevitable. Third, in order to support a denial of the reduction
      under § 2X1.1(b)(2), the circumstances must demonstrate that the
      balance of the significant acts completed and those remaining tips
      toward completion of the substantive offense. This requires that the
      district court consider the quality of the completed and remaining acts,
      not simply the relative quantities of each. Fourth, a sentencing court
      should consider the temporal frame of the scheme and the amount of
      time the defendant would have needed to finish his plan, had he not
      been interrupted. As the completion of the offense becomes more
      imminent, the reduction will become less appropriate.

United States v. Soto, 819 F.3d 213, 217-18 (5th Cir. 2016) (reduction properly

denied where court found defendants would have sent ammunition to Mexico but for

law enforcement intervention) citing United States v. Waskom, 179 F.3d 303, 308

(5th Cir. 1999) (determining whether a three-level reduction under § 2X1.1(b) is

warranted requires a fact-specific inquiry that “resists a precise standard.”)

      In Fox’s case, a significant step remained before the commission of the

substantive offense became inevitable. That is, the defendants had not yet launched

their attack. But Fox and his co-conspirators had made substantial steps in the

criminal endeavor. Those included two reconnaissance trips, multiple training

exercises, and the acquisition of specialized weapons and equipment, including

assault weapons, body armor, and night vision equipment. The balance of the

significant acts completed and those remaining tipped toward completion of the

substantive offense. Fox had in fact already packed his “kidnapping kit,” a backpack

containing zip ties, duct tape, and a combat knife. (Gov’t Ex. 339.)

      Fox and his co-conspirators also had enough time to complete their plan, had

they not been interrupted. In fact, Fox told the other conspirators they had only “six



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weeks until the [November 2020] election,” and they needed to “utilize these 5

weekend (sic) best we can.” (Gov’t Ex. 443.) Although the conspirators may have

wanted explosives to blow up the M-31 bridge, they had already made all the

preparations necessary to kidnap the Governor by the time they were arrested in

October 2020. As Fox put it, “It’s going to be opportunistic. Like it’s going to be,

when the, the asset arises there, boom, we got to go.” (Gov’t Ex. 264.) Because the

completion of the offense was imminent, and there was no meaningful evidence

that, absent official interference, any of the conspirators were likely to abandon the

enterprise, the reduction is inappropriate. It should be noted that the Court did not

apply an “incomplete conspiracy” reduction in either Garbin’s or Franks’ cases, and

both were involved in the same conspiracy as Fox.

      In Unites States v. Rorrer, 161 F. App’x. 518, 520 (6th Cir. 2005), the Sixth

Circuit affirmed the district court’s denial of the “incomplete offense” reduction

because “co-conspirators had completed all the acts necessary on their part for

money laundering, and the only remaining step, repayment of the loan, was up to a

third party who was beyond the conspirators’ control.” The same is true here: the

only remaining step was for the Governor to appear at her cottage so they could

launch their plan, but fortunately she was still beyond their control.

      3.        Statutory Sentencing Factors:

      The Court is required to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in 18 U.S.C. § 3553. In

determining the particular sentence to be imposed, the court must consider, among

other things:
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               a.    The nature and circumstances of the offense and the history and
               characteristics of the defendant (18 U.S.C. § 3553(a)(1)):

      While the plot to kidnap a sitting state governor is shocking for its temerity,

it is not without recent antecedents. For Fox’s paranoid fantasies of government

“tyranny,” one need look no further than the 1995 bombing of the Alfred P. Murrah

Federal Building in Oklahoma City. For the Three Percenters’ myth that a small

band of armed fanatics can overthrow an entire state, one finds a parallel in the

ideology of the ISIS caliphate. The defendant’s plan to use homemade explosive

devices to kill and maim recalls the 2013 Boston Marathon bombing. And not all of

the parallels preceded Fox’s plot, either, as the insurrection of January 6, 2020

illustrated.

      As to the characteristics of the offender, the Court should not be deceived by

Fox’s trial suggestion that his crimes were an understandable, if overblown,

reaction to public health measures. He was already advocating the “Boogaloo”

(overthrowing the government by physical violence) in 2019, before the SARS-CoV-2

virus appeared in China in December 2019, and long before U.S. states began

implementing shutdowns in March 2020. 3

      Fox was not motivated by frustration with his economic circumstances,

either. While he temporarily lived in a shop basement, he also spent thousands of

dollars on assault weapons, ammunition, body armor and “good-faith” money for a

bomb maker. As he highlighted in his own case, he spent substantial sums on



3https://www.cdc.gov/museum/timeline/covid19.html#:~:text=January%2010%2C%2

02020,%2DnCoV)%20on%20its%20website.
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recreational drugs. He also spent numerous days traveling and training for terrorist

acts, time that could have been profitably spent working to improve his material

circumstances. As he told Croft on June 4, 2020 (two days before their meeting in

Dublin, Ohio), “I’m supposed to start that security detail tomorrow, and I might

lose it ‘cause I’m not missing our meeting this weekend. So, that meeting’s really

fucking important to me, dude. And I might be turning down a fucking contract for

it. So, just want you to know that, that’s where my hearts at. That’s how important

this shit is to me, is that I’m gonna probably miss out on a job because of it.” (Gov’t

Ex. 488.)

      The Court should also consider some of attributes of Fox’s character that

exacerbated the offense. For instance, he repeatedly referred to the Governor as

“that tyrant bitch,” discussed “hog tying” her, and boasted a desire to sexually abuse

her. He asked in an encrypted chat, “you wanna stick it in her pooper?” before

instructing CHS Dan to add “flash bangs” and a “hood for our asset” to the flex cuffs

he already possessed. (Gov’t Ex. 208.) In other words, it was not enough for Fox to

overthrow the state — humiliating the Governor was an essential part of his plan to

retaliate against and influence the government.

      When co-conspirator Caserta proposed attacking the Governor’s supposed

“puppet masters,” Fox replied, “Making people disappear is instilling fear.” (Gov’t

Ex. 213.) When Caserta responded, “I want Zionist banker blood,” Fox said, “Copy

that.” (Id.) And Fox repeatedly expressed a more general desire to plunge the

country into chaos; as when he said, “In all honesty, I just, right now, I want to



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make the world glow, dude. I’m not even fucking kidding, I just want to make it all

glow dude. I don’t fucking care anymore. I’m just so sick of it. That’s what it’s going

to take for us to take it back. We’re just going to, everything is going to have to be

annihilated, man.” (Gov’t Ex. 123.) As he put it on the day before Independence

Day, 2020, “In the eyes of my God, I will die a fucking saint. Covered in blood.”

(Gov’t Ex. 75.) Fox’s extremism, misogyny, hate, and misanthropy argue against a

lenient sentence.

             b.     The need for the sentence imposed to reflect the seriousness of
                    the offense, to promote respect for the law, and to provide just
                    punishment for the offense (18 U.S.C. § 3553(a)(2)(A)):

      Had Fox and his co-conspirators succeeded in abducting the Governor, they

might indeed have precipitated a spasm of violent social unrest. But as the Supreme

Court has noted, “A conspiracy poses a threat to the public over and above the

threat of the commission of the relevant substantive crime, because the combination

in crime (a) makes more likely the commission of other crimes, and (b) decreases the

probability that the individuals involved will depart from the path of criminality.”

United States v. Jimenez Recio, 537 U.S. 270, 272 (2003).

      Fox and his co-conspirators traveled and trained across multiple states with

weapons of war, always paranoid that they were being watched by unseen enemies.

They experimented with and detonated an improvised explosive devices. They had

no real plan for what to do with the Governor if they actually seized her.

Paradoxically, this made them more dangerous, not less. The conspirators might

easily have killed the Governor in a botched kidnapping, killed unsuspecting law



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enforcement during a traffic stop or other unexpected encounter, or blown-up

innocent bystanders with a negligently constructed bomb.

      The sentence in this case must promote respect for the law, especially since

the defendants planned to overthrow democracy, and attack law enforcement to do

it. When Fox attempted to recruit witness Matt Keepers as a bomb maker in June,

2020, he explained, “I promise you, this will not be a social club. We don’t back the

blue…” (Gov’t Ex. 444.) He told participant Daniel Molitor on August 29, 2020, “for

all those fucking fence-sitters, and the other ones that are doing this with one foot

in and one foot out. Or one foot with the police and one foot with trying to be

constitutionalist. Let’s just be honest, man; if you’re a fucking patriot, if you’re a

militia person, if you’re a Three Percenter in this country, and you can’t say that I

backed the fucking blue. I understand that those are everyday men and women, but

they like us have a choice to make okay?” (Gov’t Ex. 194.)

      And Fox repeatedly advocated taking the law into his own hands, telling

associates “the legal route will never succeed.” (Gov’t Ex. 164; R. 595: Trial I Tr.,

PageID.5562.) When he could not get a so-called “constitutional sheriff” to arrest

the Governor, he suggested making a “citizens’ arrest.” (Gov’t Ex. 20; R. 592: Trial I

Transcript, PageID.4820.) Fox was correct that “the legal route” would never

accomplish his aims, because those aims were criminal. The sentence should send a

message that we resolve our differences at the ballot box and in the courts, not with

guns, bombs, and zip ties.




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      Finally, the sentence must provide just punishment for the offense. The

guidelines provide for a life sentence because Congress recognized kidnapping is an

extremely serious offense. When the aim of that kidnapping is to terrorize the

people and affect the conduct of government, it is so pernicious that only the most

serious sanction is sufficient.

             c.     The need for the sentence imposed to afford adequate deterrence
                    to criminal conduct (18 U.S.C. § 3553(a)(2)(B)):

      Deterrence is perhaps the single most important consideration in crafting a

sentence in this case. As Fox told a potential recruit in June 2020, “I’m plugged in

nationwide now bro. If you’re serious about doing something, we should talk more

… So where Oath Keepers at? Down to arrest the Governor?” (Gov’t Ex. 494.) Anti-

government extremist organizations like Fox and Croft’s “Three Percenters” and the

“Oath Keepers” of January 6, 2021, share a desire to tear down the government and

replace it with some undefined construct. A guideline sentence will deter potential

recruits from joining, or remaining in, their nationwide movement.

      As trial testimony established, some “militia” adherents are interested in

training and other ancillary activities, but balk at breaking the law. As Franks and

Caserta discussed, some participants would “skedaddle” when the group started

talking about kidnapping or “offing” people. (R. 595: Trial I Tr., PageID.5626-28.)

Witness Joshua Miller, for example, did indeed quit the group when its violent aims

became apparent. (R. 651: Trial I Tr., PageID.7560-61.) While hard-core extremists

like Fox and Croft might not be deterred, a stiff sentence will increase the number

of possible recruits who turn away at the invitation to commit political violence.

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      Congress recognized the paramount need to deter terrorism by imposing a

sanction of up to life in prison. As the public became aware after January 2020,

Fox’s plot was a harbinger of more widespread anti-government militia extremism.

The life sentence recommended by the United States Sentencing Commission would

convince others to reject the lure of such extremism.

             d.     The need for the sentence imposed to protect the public from
                    further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C)):

      While Croft supplied ideas, ideology, bomb-making skills, and

encouragement, Fox was the driving force urging their recruits to take up arms,

kidnap the Governor, and kill those who stood in their way. Throughout June and

July 2020, he attempted to enlist “bakers,” (Gov’t Ex. 66, 113) and even suggested

using package bombs: “Maybe we just need to, like, party it out, make a cake, and

send it. Full fucking send.” (Gov’t Ex. 122.) As the jury observed, he also repeatedly

placed himself in volatile situations with loaded assault weapons and body armor,

making another mass casualty shooting more likely with every appearance. (Gov’t

Ex. 5, 6, 58.) Unlike Ty Garbin and Kaleb Franks, Fox has expressed no remorse for

his actions, making it more likely he will return to the same dangerous conduct if

released.

             e.     The need to avoid unwarranted sentence disparities among
                    defendants with similar records who have been found guilty of
                    similar conduct (18 U.S.C. § 3553(a)(6)):

      The Sixth Circuit has repeatedly held the sentencing disparities courts

should avoid pursuant to U.S.C. § 3553(a)(6) are national disparities, not disparities

among specific cases. United States v. Simmons, 501 F.3d 620, 623 (6th Cir. 2007);

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see also United States v. Bass, 17 F.4th 629, 636 (6th Cir. 2021) (improper to

compare federal and state sentences). For 3553(a)(6) purposes, “the Guidelines …

are ‘our barometer for promoting nationwide sentencing uniformity.’” United States

v. Hymes, 19 F.4th 926, 936 (6th Cir. 2021) (citation omitted).

      Should Fox highlight the sentences of co-conspirators Garbin and Franks as

points of comparison, it should be remembered that those defendants admitted their

guilt, cooperated, and expressed remorse for their crimes. Moreover, neither of those

defendants was convicted of conspiracy to use a weapon of mass destruction. Each

received a reduced sentence for reasons specific to his own circumstances.

      The Guidelines call for a life sentence for Fox. The government, as it did

even for Garbin, supports a guideline term for the conspirators, including Fox.

While this Court has found particularized reasons to vary from an advisory

Guideline sentence for others, there do not appear to be substantial grounds to do so

for Fox.

      Although Fox faces significant guideline enhancements, each is warranted.

This was no “run of the mill” kidnapping plot. He targeted not just any victim, but

an official victim; and not just any official, but the head of a state. He was no

follower; he was an active recruiter and prime mover. The terrorism enhancement

here literally takes Fox’s Guideline score off the chart. But it applies. His goal was

not personal gain; it was a bona fide “revolution.”

      The kidnapping of the Governor and whatever the conspirators chose to do

with her next were intended to intimidate (or inspire) in the pursuit of his political



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aims. His goal predated the opportunistic circumstances he sought to exploit.

Throughout the plot, he expressed no concern for risks to bystanders and

specifically contemplated harming law enforcement as well as the Governor. Even

without the terrorism enhancement, Fox would face a sentence of 30 years to life in

prison.

      This Court has wide discretion in sentencing. But Congress, by authorizing a

term of up to life in prison, and the neutral Sentencing Commission, by advising a

term of life in prison applies here, sends a clear message of just how serious a

sentence is warranted for Fox. Public officials should never have to worry for their

safety, or the security of their families, because of the hard decisions their jobs

require. If our elected leaders must live in fear, our representative government

suffers. A plan to kidnap and harm the Governor of Michigan is not only a threat to

the officeholder but to democracy itself. The sentence imposed by this Court should

reflect the incredibly dangerous threat posed by Adam Fox and Barry Croft’s

attempt to light the fire of a second revolution.




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                                   CONCLUSION

      The words President Gerald R. Ford spoke at his inauguration are etched on

the entrance to the federal courthouse: “Our Constitution works; our great Republic

is a government of laws and not of men.” This Court’s sentence should affirm that

message by demonstrating the rule of law will defend itself against political violence

and anti-government extremism.

                                       Respectfully submitted,

                                       ANDREW BYERLY BIRGE
                                       Attorney for the United States,
                                       Acting under Authority Conferred by
                                       28 U.S.C. § 515

Dated: December 5, 2022                 /s/ Nils R. Kessler
                                       NILS R. KESSLER
                                       CHRISTOPHER M. O’CONNOR
                                       Assistant United States Attorneys
                                       P.O. Box 208
                                       Grand Rapids, MI 49501-2404
                                       (616) 456-2404
                                       nils.kessler@usdoj.gov




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